 Case 3:20-cv-00986-JPG Document 54 Filed 03/11/21 Page 1 of 5 Page ID #178




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

CARJUAN D. ADKINS,                             )
                                               )
                       Plaintiff,              )
                                               )
vs.                                            )       Case No. 3:20-cv-00986-JPG
                                               )
RICHARD WATSON, et al.,                        )
                                               )
                       Defendants.             )

                APPLICATION TO BE RELIEVED FROM ASSIGNMENT
                          TO REPRESENT PLAINTIFF

       NOW COMES attorney Eric A. Freeland (hereafter “Applicant”), pursuant to Local Rule

83.11, and for his Application to be Relieved From Assignment to Represent Plaintiff, states as

follows:

       1.       This Court’s docket reflects that on February 18, 2021, Applicant was assigned

to represent Plaintiff in this Prisoner-Civil Rights case. Per the Court’s order, Applicant was to

enter his appearance on Plaintiff’s behalf on or before March 4, 2021.

       2.       This Court’s docket further reflects that notification of the assignment of

Applicant to represent Plaintiff was attempted at Applicant’s former place of employment – the

law firm of Lorenzini & Associates, Ltd. in Plainfield, Illinois. Applicant left his employment at

Lorenzini & Associates, Ltd. in August 2019, and has not had access to mail delivery, phone

service, or his prior email address at the firm since that time.

       3.       Applicant first became aware of this Court’s order assigning him to represent

Plaintiff in this action on March 8, 2021, when he received an email sent to his home email

address by the Court’s Pro Se Law Clerk, informing him of the assignment.

       4.       After leaving his employment with Lorenzini & Associates, Ltd., in August



                                                   1
 Case 3:20-cv-00986-JPG Document 54 Filed 03/11/21 Page 2 of 5 Page ID #179




2019, Applicant permanently moved from Plainfield, Illinois to Knoxville, Tennessee, where he

has resided continuously since August 2019. Applicant is currently unemployed and in the

process of seeking admission to the Tennessee bar.

       5.       Except for a single mortgage foreclosure case pending in the Circuit Court of

DuPage County, Illinois ‒ Fortress Bank v. Norton, et al., Case No. 2018 CH 1219 ‒ in which

Applicant represents the plaintiff-bank, Applicant has no other legal matters pending in Illinois.

A judgement of foreclosure sale was entered in the Fortress Bank v. Norton case in November

2019 and the only work remaining to be completed in that case are a Sheriff’s sale and motion

to confirm the sale. The Sheriff’s sale has not taken place due to a moratorium on foreclosure

sales as a result of the ongoing COVID-19 pandemic.

       6.      During his 34-year legal career, Applicant has participated in just one case in this

Court ‒ Corcoran Consulting, LLC, et al. v. CREMServices, LLC, et al., Case No. 17-cv-803-MJR

(S.D. Ill.) ‒ and has not participated in any cases in this Court since January 8, 2019.

       7.      Applicant’s residential and professional location in the Knoxville, Tennessee ‒

500 miles from East St. Louis, Illinois ‒ makes travel to southern Illinois very expensive, time

consuming, and inconvenient, and would place extraordinary personal and financial burdens on

Applicant in accepting this assignment under even normal circumstances.                    Applicant

respectfully requests this honorable Court to be relieved of the assignment to represent Plaintiff

in this action. Given the recent assignment of Applicant to represent Plaintiff, and the early

stage of this litigation, there is no reasonable likelihood Plaintiff will be harmed if this

application is granted.

       8       Given Applicant’s permanent relocation to Knoxville, Tennessee, Applicant does

not anticipate participating in any cases in the United States District Court for the Southern District




                                                  2
 Case 3:20-cv-00986-JPG Document 54 Filed 03/11/21 Page 3 of 5 Page ID #180




of Illinois in the future. Therefore, Applicant requests that his admission to the bar of this Court

be voluntarily withdrawn and that Applicant be voluntarily removed from the roll of the bar of this

Court.

          WHEREFORE, pursuant to Local Rule 83.11(a), and with good cause shown, Applicant

respectfully requests this honorable Court to be relieved of the assignment to represent Plaintiff

herein.



                                                     By: /s/ Eric A. Freeland
                                                        Eric A. Freeland (ARDC #6193605)
                                                        5329 Buckhead Trail
                                                        Knoxville, TN 37919-8986
                                                        (865) 266-0259
                                                        Email: e.freeland@sbcglobal.net




                                                 3
  Case 3:20-cv-00986-JPG Document 54 Filed 03/11/21 Page 4 of 5 Page ID #181



                                CERTIFICATE OF SERVICE

       I hereby certify that on March 11, 2021, I electronically filed the foregoing Application to

be Relieved from Assignment to Represent Plaintiff with the Clerk of the United States District

Court for the Southern District of Illinois using the CM/ECF system, which will send notification

of such filing to the following attorneys via e-mail on March 11, 2021:

       Thomas J. Hunter
       Email: tjh@bhylaw.com
       Becker, Hoerner & Ysursa, P.C.
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       Attorneys for Defendant Richard Watson

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       Alexander B. Chosid
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       (314) 216-2218
       Fax: (314) 213-1190
       Attorney for Defendant Trinity Services Group, Inc.

       I hereby certify that a true and correct copy of the foregoing Application to be Relieved

from Assignment to Represent Plaintiff was served via regular mail on the following non-CM-

ECF participants at the following addresses by depositing the same in the U.S. Mail located in

Knoxville, Tennessee, with proper postage prepaid, on March 11, 2021:

                                                4
Case 3:20-cv-00986-JPG Document 54 Filed 03/11/21 Page 5 of 5 Page ID #182



    Carjuan D. Adkins, #326167
    St. Clair County Jail
    700 North 5th Street
    Belleville, IL 62220
    Plaintiff

    Cameron Belk, Sr., #468008
    St. Clair County Jail
    700 North 5th Street
    Belleville, IL 62220
    Intervenor


                                       By: /s/ Eric A. Freeland
                                          Eric A. Freeland (ARDC#6193605)
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                                   5
